          Case 2:23-bk-11075-SK           Doc 20 Filed 03/22/23 Entered 03/22/23 15:31:34                    Desc
 KATHY A. DOCKERY                          Main Document Page 1 of 1
 CHAPTER 13 TRUSTEE
 801 S. FIGUEROA ST., SUITE 1850
 LOS ANGELES, CA 90017
 PHONE: (213) 996-4400
 FAX: (213) 996-4426
                                         UNITED STATES BANKRUPTCY COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               LOS ANGELES DIVISION

                   NOTICE OF RESCHEDULED 341(a) Meeting of Creditors
                                 and ZOOM Meeting ID

IN RE:                                        CHAPTER 13

 Sandra Luz Tercero                           CASE NO.: LA23-11075-SK

                                              NOTICE OF RESCHEDULED §341(a) MEETING OF CREDITORS

                                              DATE:        April 11, 2023
                                              TIME         10:00 am
                      DEBTOR(S)
                                              PLACE:     CONDUCTED REMOTELY THROUGH ZOOM
                                                          ZOOM MEETING ID :88355058355

PLEASE TAKE NOTICE THAT the previously scheduled §341(a) MEETING OF CREDITORS will

now occur remotely via Zoom. Zoom can be downloaded and accessed through your phone,

tablet or laptop. VIDEO AND AUDIO APPEARANCE IS REQUIRED.

                                           ZOOM MEETING INFORMATION
            DATE:April 11, 2023 10:00 am MEETING ID :88355058355                       Passcode Not Required

           MANDATORY DOCUMENTS DUE PRIOR TO 341(a) MEETING OF CREDITORS
Debtors must submit the following mandatory documents to their Bankruptcy Attorney prior to the remote 341(a)
Meeting of Creditors:

     - Picture of your Social Security Card
     - Picture of your Driver's License
     - Evidence of your Bankruptcy Plan Payments
     - Other Required Documents

Debtor attorneys can upload the required documents to the Chapter 13 Trustee on The Attorney Portal at
LATrustee.com. Debtor attorneys must register online to use The Attorney Portal . For more information, contact
support@latrustee.com.

FAILURE TO TIMELY ATTEND YOUR REMOTE 341(a) MEETING OF CREDITORS, SUBMIT THE
MANDATORY DOCUMENTS OR TENDER YOUR BANKRUPTCY PLAN PAYMENTS TO THE CHAPTER 13
TRUSTEE MAY CAUSE YOUR BANKRUPTCY CASE TO GET DISMISSED.

Dated: 3/22/23

                                                       Kathy A. Dockery
                                                       Chapter 13 Trustee
